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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Inre: NEURONTIN MARKETING AND
SALES PRACTICES LITIGATION

x MDL Docket No. 1629

THIS DOCUMENT RELATES TO: Master File No. 04-10981

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HARDEN MANUFACTURING CORPORATION;
LOUISIANA HEALTH SERVICE INDEMNITY COMPANY,
dba BLUECROSS/BLUESHIELD OF LOUISIANA; UNION
OF OPERATING, LOCAL NO. 68 WELFARE FUND;
ASEA/AFSCME LOCAL 52 HEALTH BENEFITS TRUST;
GERALD SMITH; and LORRAINE KOPA, on behalf of
themselves and all others similarly situated, v. PFIZER INC. and
WARNER-LAMBERT COMPANY.

THE GUARDIAN LIFE INSURANCE COMPANY OF
AMERICA v. PFIZER INC. and
AETNA, INC. v. PFIZER INC.
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DECLARATION OF DAVID B. CHAFFIN

I, David B. Chaffin, state, under the penalties of perjury, the following:

1. I am a member of the bar of the Court. I am co-counsel to Defendants Pfizer Inc.
and Warner-Lambert Company (“Defendants”).

2. I make this declaration in support of Defendants’ motions to dismiss the Amended

Class Action Complaint in Harden Manufacturing Company, et al. v. Pfizer Inc., et uno and the

First Coordinated Amended Complaint in The Guardian Life Insurance Company of America v.

Pfizer Inc. and Aetna, Inc. v. Pfizer Inc.

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3. Attached hereto as Exhibit A is a true and correct copy of the slip opinion from In

re Rezulin Products Liability Litigation, Judicial Council Coordination Proceeding No. 4122

(slip op.) (Cal. Sup. Ct. Apr. 29, 2003).
4. Attached hereto as Exhibit B is a true and correct copy of the Complaint in United

States of America ex rel. David Franklin v. Parke-Davis, Division of Warner Lambert Company,

Civil Action No. 96-11651-PBS (D. Mass.).

5. Attached hereto as Exhibit C is a true and correct copy of an excerpt of Warner-
Lambert Company’s Form 10-K, dated March 28, 2000.

6. Attached hereto as Exhibit D is a true and correct copy of a reprint of an article
that appeared in The Wall Street Journal on March 30, 2000.

7. Attached hereto as Exhibit E is a true and correct copy of The Pink Sheet of April

3, 2000.

SIGNED UNDER THE PENALTIES OF PERJURY
THIS 177" DAY OF MARCH 2005

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“Serene

David B. Chaffin “/

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